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                                                                           20 er 23 Ll EcT-
                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MII\iNESOTA


,   UNITED STATES OF AMERIEA,                           .INFORMATION

                          Plaintiff,.                   r8 u.s.c. $ 1163

           V.

                                                                                      DEC 1 4 ac,ZJ
    JENNIFER LVNN BOUTTO,
                                                                             OLERK, u.s.    utSil.itur r,r.rurr,
                                                                                 MINNEAPOLIS, MINNESOTA
                          Defendant.

          TFIE UNITED STATES ATTORNEY CHARGES T''FIAT:

                                          COUNT    1
                  (Embezzlement and Theft from Indian Tribal Organization)

          Between on or about June 8, 2013, and Oqtober 16, 2019, in the State and District

    ofMinnesota, the   defendant,                   '




                                 .JENNIFER LYNN BOUTTO,

    being an employee of the Fortune Bay R{sort Cdsino-owned and operated by the Bois

    Forte Band of Chippewa, a tribal organization-did embezzleand    willfully   and knowingly

    steal $315,739.87   of moneys, funds, and credit$ belonging to the Fortune Bay       Resort

    Casino and the Bois Forte Band of Chippewa, all in violation of Title 18, United States

    Code, Section I163.

    Dated: December l'4, 2020                     ERICA H. I\4ACDONALD
                                             '    United States Attornev

                                                  h/ Jordan L. Sing

                                                  BY: JORDAN L. SING
                                                  Assistant United States Attorney
                                                  Attorney ID: 393084

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                                                                                            SCANNED                I

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                                                                                        u.s. DrsrRrcT counr MPSJ
